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14                            UNITED STATES DISTRICT COURT
15                          NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION
16

17
     CONCORD MUSIC GROUP, INC., ET AL.,      Case No. 5:24-cv-03811-EKL
18
                      Plaintiffs,            [PROPOSED] ORDER GRANTING
19                                           ANTHROPIC’S ADMINISTRATIVE
           vs.                               MOTION FOR LEAVE TO FILE
20                                           SURRESPONSE TO PLAINTIFFS’
     ANTHROPIC PBC,                          RENEWED MOTION FOR
21                                           PRELIMINARY INJUNCTION
                      Defendant.
22                                           **AS MODIFIED**

23                                           Hon. Eumi K. Lee

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                                                     [PROPOSED] ORDER GRANTING ANTHROPIC’S
                                                   ADMIN. MOT. FOR LEAVE TO FILE SURRESPONSE
                                                                     CASE NO. 5:24-CV-03811-EKL
              Case 5:24-cv-03811-EKL Document 255 Filed 10/22/24 Page 2 of 2



 1                                       [PROPOSED] ORDER

 2          Having considered Anthropic’s Administrative Motion for Leave to File Surresponse to

 3   Plaintiffs’ Renewed Motion for Preliminary Injunction (“Administrative Motion”), and all

 4   evidence and argument submitted therewith, the Court GRANTS the Administrative Motion.

 5   Anthropic is hereby ORDERED to file its [Proposed] Surresponse and supporting declarations

 6   and exhibits by the end of the next business day following entry of this Order.
           IT IS SO ORDERED.
 7
     The Court is not inclined to permit any further briefing or evidentiary submissions in connection
 8   with Plaintiffs’ motion for preliminary injunction

 9   Dated: __October 22,         2024                    ____________________________________
                                                          THE HONORABLE EUMI K. LEE
10                                                        United States District Judge
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                                                      1         [PROPOSED] ORDER GRANTING ANTHROPIC’S
                                                              ADMIN. MOT. FOR LEAVE TO FILE SURRESPONSE
                                                                                CASE NO. 5:24-CV-03811-EKL
